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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

UNITED STATES OF AMERICA                     )
                                             )
v.                                           )      Case No. 3:19cr130
                                             )
OKELLO T. CHATRIE,                           )
          Defendant                          )


      DEFENDANT’S MOTION TO DEFER GOOGLE’S SUBPOENA COMPLIANCE
         DEADLINE TO CLOSE OF BUSINESS ON FRIDAY, MARCH 6, 2020

         Okello Chatrie, through counsel, moves the Court to extend Google’s subpoena compliance

deadline to close of business on Friday, March 6, 2020. In support of this motion, Mr. Chatrie

states the following:

         1. On February 4, 2020, Mr. Chatrie moved the Court to issue a subpoena duces tecum to

            Google for the production of information necessary to litigate Mr. Chatrie’s pending

            Motion to Suppress Evidence Obtained from a “Geofence” General Warrant, see ECF

            No. 29. See ECF No. 82.

         2. On February 7, 2020, the Court granted that motion and issued a subpoena duces tecum

            for Google to produce the requested information. See ECF Nos. 85 and 86. Mr. Chatrie

            had sought and the Court ordered that Google produce the information subject to the

            subpoena duces tecum by Friday, February 21, 2020, at noon. See ECF No. 86 at 1.

         3. Counsel for Mr. Chatrie have been in communication with counsel for Google to

            discuss the subpoena duces tecum in ECF No. 86. Counsel for Google have requested

            additional time to produce the information in the form of an affidavit. If such an

            affidavit sufficiently addresses the information that the subpoena orders Google to
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          produce in part or in whole, the defense can either move the Court to narrow the scope

          of the subpoena or withdraw it as appropriate.

Thus, Mr. Chatrie moves the Court to extend Google’s subpoena compliance deadline to close of

business on Friday, March 6, 2020.

                                           Respectfully submitted,
                                           OKELLO T. CHATRIE

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                                CERTIFICATE OF SERVICE


        I hereby certify that on February 20, 2020, I filed the foregoing with the Clerk of Court
using the CM/ECF system, which will send a notification of such filing (NEF) to all counsel of
record.

                                                   ___________/s/____________
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